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 5
      Interim Lead Counsel for the Direct Purchaser Plaintiffs
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF' CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11    IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
      ANTITRUST LITIGATION
1,2                                                   MDL No. 1917
      This Document Relates to:
13                                                    DECLARATION OF' R. ALEXANDER
                                                      SAVERI IN SUPPORT OF FINAL
t4    ALL DIRECT PURCHASER ACTIONS                    APPROVAL OF CLASS ACTION
                                                      SETTLEMENT WITH PANASONIC
l5                                                    DEFENDANTS
r6                                                    Date: December 17,2072
                                                      Time: 10:00 a.m.
T7                                                    Judge: Honorable Charles A. Legge (Ret.)
                                                      JAMS: Two Embarcadero Center" Suite 1500
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      DECL. OF R. ALEXANDER SAVERI ISO OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH
      PANASONIC _ O7-CV-5944-SC
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 I   I, R. Alexander Saveri, declare:

 2           l      I am a partner with Saveri & Saveri, Inc., Interim Lead Counsel for Direct Purchaser
 a
 J   Plaintiffs in this litigation. I am a member of the Bar of the State of California and an attorney

 4   admitted to practice in the Northem District of California. I make this Declaration in Support of

 5   Plaintiffs' Motion for Final Approval of Class Action Settlement with defendants Panasonic

 6   Corporation (flk/a Matsushita Electric Industrial Co., Ltd.), Panasonic Corporation of North

     America, and MT Picture Display Co., Ltd., (collectively, "Panasonic"). The Settlement also

 8   releases Beijing Matsushita Color CRT Co., Ltd. ("BMCC"). Except as otherwise stated, I have

 9   personal knowledge of the facts stated below.

10          2.      Attached hereto as Exhibit 1 is the Settlement Agreement.

11          3.      This multidistrict litigation arises from a conspiracy to fix prices of Cathode Ray

12   Tubes ("CRTs"). In November of 2007, the first direct purchaser plaintiff filed a class action

13   complaint on behalf of itself and all others similarly situated alleging a violation of section one of

t4   the Sherman Act, 15 U.S.C. $ 1, and section four of the Clayton Act, 15 U.S.C. $ 15. Thereafter,

15   additional actions were filed in other jurisdictions, and the Judicial Panel on Multidistrict Litigation

16   transferred all related actions to this Court on February 15, 2008. (Judicial Panel on Multidistrict

t7   Litigation Transfer Order-Docket No. 122). On May 9, 2008, Saveri & Saveri, Inc. was appointed

18   Interim Lead Class Counsel for the nationwide class of direct purchasers. (Order Appointing

I9   Interim Lead Counsel-Docket No. 282).

20          4.      On March 16,2009, the Direct Purchaser Plaintiffs filed their Consolidated

2I   Amended Complaint ("CAC") alleging an over-arching horizontal conspiracy among the

22   Defendants and their co-conspirators to frx prices for CRTs and to allocate markets and customers

ZJ   for the sale of CRTs in the United States from March 1, 1 995 through November 25,2007 (the

24   "Class Period"). The Complaint alleges that Plaintiffs and members of the Class are direct

25   purchasers of CRTs andlor CRT Finished Products from Defendants and/or their subsidiaries and

26   were injured because they paid more for CRTs and/or CRT Finished Products than they would

27   have absent Defendants' illegal conspiracy. (Compl. 1[T 213 - 22I). Plaintiffs seek, among other

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 1   things, treble damages pursuant to Sections 4 of the Clayton Act, 15 U.S.C. $$ l5 and 22.

 2   (Compl., Prayer for Relief ).
 a
 J           5.         Defendants filed several motions to dismiss the CAC on May 18,2009. (See Docket

 4   Nos. 463-493). On February 5,2010 this court issued its rulings denying in part and granting in

 5   part Defendants' motions to dismiss (Report, Recommendations and Tentative Rulings regarding

 6   Defendants' Motions to Dismiss, Docket No. 597). After an objection by Defendants, Judge Conti

     on March 30,2010 entered an order approving and adopting Judge Legge's previous ruling and

 8   recommendations. (DocketNo. 665). On April 29,2010, Defendants answered the CAC.

 9           6.         Thereafter, in May 2010, certain Defendants propounded intenogatories requesting

10   Plaintiffs to identify what evidence they had about the existence of a conspiracy to fix the prices of

11   CRT Products at the time they filed their complaints. Plaintiffs objected to these interrogatories as,

t2   among other things, premature "contention" interrogatories. Defendants moved to compel

13   answers. On November 18, 2010, after a hearing, the Special Master ordered Plaintiffs to answer

t4   the interrogatories. (Report and Recommendations Regarding Discovery Motions - Docket No.

15   810). On December 8, 2010, the Court adopted the Special Master's Report and Recommendation.

16   (Order Adopting Special Master's Report, Recommendation, and Tentative Rulings Regarding

t7   Discovery Motions - Docket No. 826). On January 3I,2071, Plaintiffs answered Defendants'

18   interrogatories.

19           7.         On March 2I,2011, certain Defendants moved for sanctions pursuant to Federal

20   Rules of Civil Procedure, Rule 11 on the grounds that the allegations of a finished product

2T   conspiracy were without foundation and should be stricken from the complaint. (Defendants'

22   Motion for Sanctions Pursuant to Rule I 1 - Docket No. 880). On June 15,2071 , after hearing, the

L)
^a   Special Master recoÍr.mended that these Defendants' motion be granted and that Plaintiffs'

24   allegations of a finished products conspiracy be stricken from the complaint. (Special Master

25   Report and Recommendations on Motions Regarding Finished Products - Docket No. 947). The

26   Special Master also recommended that "the issue of the possible impact or effect of the alleged

27   fixing of prices of CRTs on the prices of Finished Products shall remain in the case, and is a proper
28   subject of discovery." Id. atp.14.

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 1          L       On June 29,2011, Defendants moved the Court to adopt the Special Master's

 2   Report and Recommendation. (Motion to Adopt Special Master's Report and Recommendation
 a
 J   Regarding Finished Products - Docket No. 953). Plaintiffs filed an objection to Special Master's

 4   Report and Recommendation. (Direct Purchaser Plaintiffs' Objection to Report and

 5   Recommendation on Motions Regarding Finished Products - Docket No. 957). The Court set the

 6   matter for hearing on September 2,2011. (Docket No. 968).

 7          9.      On August 26,2011, before the hearing on the Special Master's Report and

 8   Recommendations Regarding Finished Products, the parties entered into a stipulation which

 9   provided, among other things: 1) that the Special Master's recommended finding that Plaintiffs

l0   violated Rule 11 be vacated;2) that certain other aspects of the Special Master's recommendations

l1   be adopted; and 3) that Plaintiffs' "allegations of the Direct CAC purporting to allege a conspiracy

t2   encompassing Finished Products are Stricken from the Direct CAC, provided, however, that the

l3   issue of the possible impact or effect of the alleged fixing of prices of CRTs on the prices of

t4   Finished Products shall remain in the case." In addition, Plaintiffs agreed to withdraw "all

15   discovery requests regarding or relating to information in support of the CRT Finished Product

T6   Conspiracy claims," and that "the issue of the purported impact or effect of the alleged fixing of

T7   prices of the CRTs on the prices of the Finished Products shall remain in the case and is a proper

18   subject of discovery." (Stipulation and Order Concerning Pending Motions Re: Finished Products -

I9   Docket No. 996).

20          10.     On December 12,2071, Defendants frled a joint motion for Summary Judgment

2I   against Direct Purchasers Plaintiffs who purchased CRT Finished Products. (Docket No. 1013). On

22   February 24,2012, Plaintiffs filed their Memorandum of Points and Authorities In Opposition to

¿J   Defendants' Motion For Partial Summary Judgment and supporting Declaration of R. Alexander

24   Saveri under seal. (Docket No. 1057). That same day, the Direct Action Plaintiffs also filed an

25   opposition to Defendants' motion. On March 9,2012, Defendants f,rled their Reply In Support of

26   Motion For Summary Judgment (Docket No. 1083) and on March 20,2012, the Court heard

27   argument. On May 3I,2012, the Special Master issued his Report and Recommendation regarding

28   Defendants' Joint Motion For Summary Judgment recommending that the Court grant Defendants'

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 I   motion and that judgment be entered against certain plaintiffs that directly purchased CRT Finished

 2   Products ("R&R"). (Docket No. 1221).

 J           I   L   On June 12,2012, the Direct Purchaser Plaintiffs, the Direct Action Plaintiffs, and

 4   the Defendants submitted a Stipulation notifying the Court that Plaintiffs intended to object to the

 5   R&R. (Docket No. 1228). On June 26,2012, the Court ordered all parties to file their briefs by

 6   July 26,2012 and set a hearing for August 10,2012. (Docket No. 1240). On July 28, 2012, the

     Court vacated the hearing. (Docket No. 1243). The parties filed their briefs as ordered. On

 8   September 24,2012, the Court reset the matter for hearing on December 7,2012.

 9           12.     In September of 2008, the first of several stays prohibiting plaintiffs from obtaining

l0   merits discovery was entered by this Court. (Stipulation and Order for Limited Discovery-

l1   September 12,2008- Docket No.379; Stipulation and Order to Extend Limited Discovery Stay-

t2   February 5, 2009-Docket No. 425; Jvne 8,2009 Legge Order Further Extending the February 5,

l3   2009 Order; January 5, 2010 Stipulation and Order to Extend Limited Discovery Stay-Docket No.

t4   590). On June 4, 2008, Plaintiffs' propounded their First Set of Limited Document Requests.

15   Thereafter, on March 12,2010, after the partial stay of discovery was lifted, Plaintiffs propounded

T6   their Second Set of Document Requests and First Set of Interrogatories. After extensive meet and

l7   confers and several motions to compel, the Court issued its Report Regarding Case Management

18   Conference No. 4 on October 27,201I setting t\e middle of December,2011 as the deadline for

t9   the completion of substantial discovery by all parties. (Docket Nos. 1007, 1008). Plaintiffs have

20   now received over 5 million pages of documents from Defendants.

2l          13.      On March 19,2012, the Special Master issued the Scheduling Order and Order Re

22   Discovery and Case Management Protocol. (Docket Nos. 1093, 1094). The Court entered both

¿J   Orders on April 3,2012. (Docket Nos. I I27, | 128). The Scheduling Order set August 30, 2013 as

24   the date for completion of all fact and expert discovery. Beginning in June of 2012, after meeting

25   and conferring with Defendants regarding the scope and topics of 30(b)(6) witnesses, Plaintifß

26   began taking 30(bX6) depositions of the various Defendants. To date, in coordination with the

27   indirect purchasers, the Attorneys' General, and the opt-out plaintiffs, Plaintiffs have deposed

28   approximately twenty-five corporate repre sentatives.

     DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT                WITH 4
     PANASONIC -     O7-CV-5944-SC             :
           Case 4:07-cv-05944-JST Document 1464-1 Filed 11/26/12 Page 6 of 28




     I          14.      On October 19,2072, the Court granted final approval of the first two settlements

     2   reached in this case with: (l) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes
     a
     J   (Malaysia) Sdn. Bhd. ("CPT"), and (2) Koninklijke Philips Electronics N.V., Philips Electronics

     4   North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips Da

     5   Amazonia Industria Electronica Ltda. (collectively, "Philips"). The Court certif,red a Settlement

     6   Class for the CPT and Philips settlements, appointed Plaintiffs' Interim Lead Counsel as Settlement

     7   Class Counsel, and found that the manner and form of providing notice of the settlements to class

     I   members was the best notice practicable under the circumstances. (Docket No. 1412).

     9          15   .   On August 27 , 2012, the Court preliminarily approved the Settlement before the

10       Court. The Court certified a Settlement Class for the Settlement, appointed Plaintiffs' Interim Lead

11       Counsel as Settlement Class Counsel, approved the manner and form of providing notice of the

t2       Settlement to class members, established a timetable for publishing class notice and set a hearing

13       for final approval. (Docket No. 1333).

T4              16.      Mr. Cliff Pearson and I participated in all of the settlement negotiations with
15       Panasonic. Settlement negotiations began in early 2012. The negotiations were thorough and hard

t6       fought. They were contested and conducted at arms-length in the utmost good faith. The

l7       negotiations covered a long period of time. The parties ultimately executed a settlement agreement

18       on June 4,2012.

19              17   .   In exchange for dismissal with prejudice and a release of all claims asserted in the

20       Complaint, Panasonic has agreed to pay $17,500,000 in cash. The settlement funds have been paid

2l       and deposited into a separate escrow account for the Direct Purchaser Class.

22              18.      Panasonic's and BMCC's sales remain in the case for purposes of computing
ô1
¿J       damages against the non-settling defendants.

24              19.      Panasonic has agreed to cooperate with Plaintiffs in the prosecution of this action by

25       providing information relating to the allegations about the multilateral or group CRT competitor

26       meetings alleged in the Complaint, including 1) an attorney proffer by Panasonic's counsel of the

27       facts known to Panasonic regarding multilateral or group CRT competitor meetings; 2) the

28       interview and deposition of up to five (5) Panasonic persons with knowledge of multilateral or

         DECL. OF R. ALEXANDER SAVEzu ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT                 WITH 5
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 I   group CRT competitor meetings; 3) provision of one or more witnesses for deposition to provide

     information with respect to Panasonic's data regarding sales, pricing, production and costs of its
 a
 J   CRT Products, and 4) provision of one or more witnesses to testiff regarding the foundation of

 4   any Panasonic document or data necessary for summary judgment and/or trial.

 5          20.     It is my opinion that the Panasonic settlement is, in every aspect, fair, adequate and

 6   reasonable and in the best interest of the class members. My opinion is based, among other things,

     on my participation in virtually every aspect of this case, my review of all of the important

 8   evidence obtained to date and my experience in many other class action antitrust cases.

 9          2I.     The notice plan for the settlement is substantially identical to the notice plan used

10   for the finally approved CPT and Philips Settlements. The plan of allocation is identical to the plan

ll   previously approved by the Court in connection with the CPT and Philips settlements.

t2        I declare under the penalty of perjury under the laws of the United States of America that the

13   foregoing is true and correct.

t4        Executed the26th day of November, 2012, in San Francisco, California.

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                                                                  /s/ R. Alexander Saveri
r6                                                                  R. Alexander Saveri

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     DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH                         6
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            EXHIBIT 1
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                          TINITPU STATES DISTRICT COTIRT

                     NORTUERI,{ DISTRICT OF CALIFORIYIA

                             SAN TüRA,I.{C$ CO DIVISION


IN RE: CATEODE RAY TUBD (CRT) )                         Ma$ter File No. cv-07-5944 SC
AI{TITRUST LITIGÀTION         )
                                                 )'     MDL No' 1917
THIS DOCTIMEI{TRELAIES To:                   .   )
ALL DIRECT.PURCHASER ACTIONS )

                              SBTTÞEMENT AGREB.T,ENT

       This settle,me,nt Agree,ment fÀgree,menf) is made and entered into this      !!!uut
                                                                                    krdustial
of Jung Z¡l¡byandbetweenPanasonic Corporation (WaMatsushitaEleohic
         Panasdnic Corporation ofNortb America, ]Wf Picture Display Co', Ltd'
Co., Ltd.,
(colleutively'?aUasonic') and the direct-prnchaserptaintiffclass representatíves
(?laintlffs'), both individually and on behalf of a settlemetrt olass of dircct pruchasers of
cathode Ray Ti¡bp (cRÐ Products ("the class')         * *ot: particularly defuied in
Paragraph l below.
                                                                                       (CRI)
        WHEREAS, Plaintiffs are p:oseouting the úove In Re Cathode Rsy Tube

^ántìtnutLítigation,ÌvDLNo. 1917 (N.D. CaI.) (the l'Action") on their own behalf and
on behalf of tbe class agains! among othen, Panasonio and
                                                                Beijing Matsushita color

CRT Co., Ltd. ("BMCC");
      WHEREAS, P1aiffiffs allege that Panasonic and BMCC participated in an
                                                                                    at
rmlawful conspifacy to raise, fix, maintain' or stabilize the price of CRT Froducts
ætificialty higþ levels in violation of section 1 of the shçrman AoÇ
        WHEREAS, panasqtüc and BMCC denyPlaintiffs' allegations andhave
                                                                                       asserted

defenses to Plaintiffs'   claims;
        WHEREAS,Plaíntiffsb¿veconductcdaninvestigationinto              the facts and thþ raw

                                                                           Panasonic and
regarding the Action and have concluded that resolving claims against
                                                                                      and the
BMCC    according to the tern¡s set forth below is in the best interest of Plaintiffs

 Class;                                                    .
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       ryHEREAS, Pmasonic, daqpite its belief that it is not liable for the claims
asserted and has gootl defenses thereto, has nevertheless agreed to enter into this

Agreeme,lrt to avoid fr¡rtlrer expeûre, inconveniencg and the distraction ofbtirdensome

and protracted litigetion, and to obtain thc releases, orders, aod judgment coite,mplated

by this Agree,rnen! and to put to rest \ryith finality all claims that have bee,n or could bave
been asserted agaitst Panasonig and MT Pictue Display Co., Ltd.'s former joint venü¡e

BMCC, baËed on fhe allegations of the Action, as more particularly set out below;
        NOW, THEREFORB, in consiilemtion of the cov€naffs, agre€,ments, and releäses
set fortb herein and for other good and valuable consideratio4 it is agreedby antl among
                                                                                                  '

the unde,rsigned th¿t the Action be settled, compromised" and dismiçsed on the merits

with p,reJ'udice as to the Panascinic Releasees, as defined below, and exiæpt as hereinafrsr
provided, withoutcosts as to Plaintiffs, the Class, Panaspnic, or BMCC, subjectto the

Eproval of tlie Cor¡rt, on the following terms and coqditions:
A- Definitions.
                l.      For plrposes of this Agreement, '1h.e Class" and "Class Pe'riod"
are defined ia Plaintift' Consolidated Amended Complaint or, if that complaint is

a6e,nded, theoperative complaint atthetime tbisAgreemørtis signed. The parties to

thís Agreemsrit hereby stipulate for purposes of this settle.meut only that the requirements
of Rules 23(a) and23(bX3) of the Federal Rules of Civil Procedure are satisfied.
             . 2.       For purposes of this AgregnenÇ "CRT Produots" shall have the

meaning as defiqed in the Consolidated Amended Complaint or, if that Complaínt ís
ame¡rded, the operbtive oomplainf at tbe time this Agreement is signed-
                3.      '?anasonic Releasees" shall rcferto Panssonic qnd to all of its
respective past and presenf direct aud indirect, parernts, strbsidiaries, and affiliates,
inoluding MT Píoture Ðisplay Co., Ltd.'s forr¡er joint venturg BMCC, and all of its
respective past anô present, direot and indirec! parents, subsidiaries, and affiliates; the
predecessors, succÆs,sors and assigns of any of the above; and each and alt of the present

and former principals, parhers, officers, directors, supervisors, employees, agents,

representatives, insurers, attOrneys, heirs, exeoutors, adminisbators, aud assigns ofeach

of tbe foregoing. '?anasonic Reler¿sees" does not inch¡de any defendant in the Action
other than Panasonic.and BMCC.
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                4.      ooClass
                                  Membet''mea¡rs eachmember of the Class who has not
timely elected to be excluded ùom the Class.
                5.      'Relea.sors" shall refer to the direct-pwchaser plaintiffClass

representatives and the direct-prnchaser ptaintiffClass Memb€rs, and to their past and
prese,nt officers, directors, e,mployees, agerits, süookùolders, attomeysn servants,

representafives, pattr$s, sttbsidiaries, affiliates, partners, insr¡rers and all otber persons,
parülerships or corporations with whom any of the former have been, or atre now,

affiliated, and the predecessors, successors, heÍrs; executives, adminisbators and assigns
of any of the fo:egoing,
                6.      '"Ihe Settlement Fund" shall be $17,500,000 specified in
Pæagraph 16 plus accrued iuterest on said deposits set forth in Paragraph 17.

                7.                              rcfer to the law firm of:
                        ffi:T"i*"oall
                        R. Alexasder Saveri
                        Saveri & Saveri, Ioc.
                        706 Sansome Sheet
                        San Francisco, CA 9411 I

        B,      ABproval of this ngreement an¿nis¡ilissat
                of Clairns Against Pæasonic and BMCC.

                8.      Plaintitrs and Panasonic shall r¡se their best efforts to effectuate
this Agree,ment including cooperatingin seeking the Court's approval for tbe

establishment ofprocedures (including the giving of olass notice under Federal Rules of

Civil Procetlure 23(c) and (e)) to secure tbepromp!*complete, and final dismissal with
prqiudice of the Action as to the Panasonic Releaseel only.
                g,      Plaintiffs shall submit to the Cor¡rt no earlierthan June 28, 2012 a
-motion for ar¡thorizatibn to dissEninate notice of fhe settlqn€nt and final judgmelrt

conte,mplated by this Agreemerit to all Class me,rnbeis ídentified by Pdnasonic (the

'Motion-). If notice to the Class is given jointly with any other settling defendan! for
pì{poses of Paragraph 19 below, the oosts of notice and olaims administration shall be
prorated yith any other such defe¡rdant bæed op tleir respective settlemoent amounts.

The Motion shall include (i) aproposed form of,.method for, and date of djsssmination of

notice; and (ü) a proposed form of ordçr and nnA                   The telú of the foregoing
                                                      iufgment.
                                                       :.
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    items (i) and (iÐ shalt be agreed upon by Plaintiffs and Panasonic before submission of
    the Motion, with the understanding thal ri¡nong other things, individual notice of the

    settle,ment shall be rn¿iled by regular mail or ernail, with appropriate notice by

    publication" with all expenses paid ûom the Settlement Frmd subject to Paragraph 19(a).

    P¡nasonic wilt supplyto Lead Cor¡sel names and addresses of putative Class mæbers
    to fhe extent reæonably available in Panasonic's records. Panasonic, however, shall not

    be required to bear any rmdue burden or e¡(pe¡rse in poviding such líst. The Motion shall

    recite æd ask the Cornt.to find that the mailing of the notice of settie,ment to all mernbcrs
    of the Class who can b€ id€ntiûed upon reasonable effori consüa¡tes valid, due and
'   sufficient notice to the Class, aorutitutes the best notice practioable u¡der tho
    circumstsf,tces, urd complies fully with the requireme,nts of Federal Rule of Civil

    Procedure 23.

                    10. Plaintiffs shall seeþ and Panasonic will not object unreasonably to
    the entry of, an order and ûnal judgmenr! the text of which Flaintitrs and Panasouic shall
    agr€€ Won. The terms of that order and final judgment will include, at a
                                                                                  Finimr¡ln, the
    substance of the following provisions:

                    a,     csrtifying the Class desoribed in Paragraph l, pursuant to Rule 23
                           of the Fe.deral Rules of Civil Prccedrre, solely for prrqroses of this
                           settlment as a settlement class;
                    b.     as to the Actiorr" approving finally this settle,ment and its terms æ

                           being a ftir, reasonable and. adequaûe settle¡ne,lrt as to the Class
                           Members within themeaningof Rule 23 ofthe Federal Rules of

                                             and directing.its consunmation accordingto its
                           _i:T*"*
                           Tenns;

                    c.     as to the Panasonic Releasees, directing that the Action be

                           disnissed withpnejudice and" except as provided forin this
                           Agrefln€ût, without costs;
                    d.     reserving exolusive jwisdiction overthe settlement and this
                           AgreemelrJ including the adrünisúatiori and consummation of this




                                                  Á.;
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                       settleme'n! ûo.the United States Þishict Court for the Northern

                       Ðistrict of Califomiq and
               e.      determining under Federal Rule of Çivil Procedr¡re 54(b) that there
                       is no justreason for delay aud directing that tbe judgment of
                       dismrssal as to the Panasonic Releasees shall be final,


                11: This Agreemelrt shall becsme ûnal whe¡r (i) the Cor¡rt has entered
a final orderr certi$Íng the Class described in Pragraph I and approving this Ageeinent

r¡nder Federal Rule of Civil Proceihme 23(e) and a final judgment disrrissing the Action

with prejudice as to Panasonic Releasees aæinst all Class Members and wíthout costs
othen than those provided fur in this Agree,ment, and 0) the time for appeal or to seek

permission to appeal from the Çourt's approval of this Agreeinent irnd entry of a final
judgmeut as to Panasonic Releasee.s desctibed in (i) hereofhas expired or, if appealed,
approval of this Agreement and the final judgment as ûo Pæasonio Rèleasees have been
affitmed in their entiretyby the Court of last resort to v/hich such appeal has be€,r taken
and such affirmance bas become no longø subject to finthen appeal or rwiew. It is
agreed that the provisions of Rule 60 ofths Fed€ral Rules of Civil Proceú¡re shall not be

taken into account in determining the above:stated times. On the date that Plaintiffs and

Panasonic have executed this Agreernent, Plaintiffs and Panasonic shall be bor.urd by its

terms and this Agreement shall not be rescinded except in accordance with Paragraphs
17(h), 18(a), 28, or29oiúi, Agreernent.
               12. Neither this Agretment (whether or not it should become final) nor
the ûnal judguen! uor any aad all negotiations, docrulehts and díscussioo, urrooiut"d
with theq shall be deem.ed or conshr¡ed to be an admission by Panasonic (or the
Panasonio Releasees) or evidence of any viotation of any statute or law or of my liability

or wrongdoing whatsow.er by Panasonic (or the Panasonic Releasees), or of the tuth of
any of the claims or allegations contained in any complaint or any other pleading filed in,
the Action, and cvÍdence thereof shall not be discoverable or used directly or indirectly

in any way, whether in the Actíon or in any other action or proceeding. Neither this
Agreernent, nor any of its terms and prrovisions, nor my of the negotietions or
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procæedinp cor¡rected wíth it, tror any other astion taken ûo carry out this Agreement by

any ofthe settling parties shall be referred to, offered æ evidence or received ín evidence

in any pending or firture civil, criminal, or admínisbative action or proceedings, except in
aproceeding to e'nforce this Agreement, or to defend against the assertion of Released
Claims, or æ otherwise reqrrired by law.
                C. Release. Discharge. and Cov€,nart Not to Sue.
                13. In addition to tbe offeú of any final judgnent enterEd in
accordance wíth thi$ Agree,nent upon this Agreemeut becoming final as set out in

Paragraph I I of this Agree,ment, and in consideration of pa¡nrent of the Sstttement

Amormf as specified in Paragraph 16 of this Agreement into the Settlerrent Fuud, and
for other valuable consideration, ths Paûasonic Releasees shall be completely releasd
acquitted, and ilorever dÍscharged from any and all claims, dei¡mals, aotions, suits, causes

of action, whether class, individual, or othenvise in .natue (whether or uof æry Class
Memberhas objeoted úo the settlement ormakes a claim upon orparticipates in the
Settleurent Fund, whether directly, represe,ntativelg døivativeþ or in any other capacity)

that Releasors, or each of thern, ever had now has, or hereafrer can, shall,.or may have on

account o{, or in anyway arisìng oui of, any and all knon¿n and rmlnown, foraseen and

unforeseen, suspected or unsuspeoted, acû¡al .gr contingenf liquidated or unliquidated

claims, injuries, dagtages, and the c,onsequ€ilr.ces thseof in any way arising out of or
relating in any way to any act o¡ omission of the Panasonic Releæees (or any of them)
conc€ming the CRT Product¡ thaf are thc subjeot of thePlaintiffs' Cousolidated
Amended Complaint rrp to the date of execution of this Agreemenf including but not

limited to any conduct atlE¡Bd, and causes of ection asserted or that could have been
alleged or asserted, in any class action complaints filed in the Action, other than clai¡¡s

for product defect or pøsonal injury or breach of coriúact æiiling in the ordinary course
of business or. indirect prrrchaser claims for CRT Prodr¡cts that were not purchased
directly fiom Defendants or their alleged co-conspirators (the "Released Claims').
However, the Released Claims shall not preclude Plaintitrs ûom pursuing any antl all
claims against other defendants for ttre sale of CRT Producfs by those defendants, or their    .
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co-conspifators, which contain Panasonic's cRT
                                                      Proilucts' Releasors shall nol afrer the
                                                      against any Panasonic Relcasee based'
date of this Agreement, seek to establish liability
                                                           or conduct at issue in the Releæed
in vühole or in part, upotr any of the Released Clairns
                                                         include any claims under
claíms. Forpurposes of clarity, the Releæed claims shall
                                                           or competitiou taws {in¡lfine
foreign anritnrst or competition laws or stafe antiüust
                                                         of the sale of any of the CRT
indirest purohaser claims) that relate to or a¡ise out
                                                                                         but do
products that are the subject of the Plaintiffs' Consolidated Amended Complaint,
                                                         claims or a¡ry state law indireÆt
not include aoy foreign a¡¡itrust or competition law
purchaser claims that relato to or atise out of the sale
                                                           of cRT Produots thaÍ (a) were not

pr[chased from aDefendant or alleged co-oonspirafor in thè
                                                                  Action;   * (b)      tYU
                                                                                 l*
                                                                       included within a CRT
                                                         compone,lrt
io the United states as either'a CRT Pmdr¡ot or af¡ a
 Producl
                 14,InadditiontotbeprovisionsofParagraph13ofthisAgreemorÇ
                            waive and release,.r4ron this Ägreement becoming
                                                                             final' any
 Reloasors hereby expressþ
                                                            1542of the califomia civil codg
 and all provisions, ¡ghts, andbenefits conferredby $

 whichstat€s

                                               SE DOES NOT EXTEND TO
           LffiunrcII rHEINcREDIToR DoEs Nor KNow oR
                            HIS FAVOR ATTHE TIME OF
           SUSPEd TO B)CST
           ÐGCUrn{C THE RELEASE, WHICH rn KNOWN BY HIM
           úñi I{AvE v¿rm'nu,v AI'FEcTED HIS SETTLEMENT
           WITH THE DEBTOR;
                                                                    principle of common law,
  qr by any law of any state or teniúory of the united states, or
                                                       1542 of the california civil code' Each
  which is similar, compæablg or equivalenrt to $
                                                       or different from those which he' she' or
  Releasor may hereafrer discover f¿cts other than
                                                                whích are the subjec't matter of
  ít knorvs or believes to be tn¡e with respect to the claims
                                                         but each Releasor bereby expressly
  the provisions of Paragraph 13 of this Agreemen!
                                                                 gpon this Agreement beæmlng
  waives and fuil¡ finally, and forever settles and releases,
                                                                 coniingeut or non-contirigent
  fiaal, anyknown or unknown" suspected or unsuspected
                                                  provisions of Paragraph 13 of this
  claim with respect to tbe zubject matter of the
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  Agreement, whether ornot concealed orhidde4 without regard to the zubsequernt

  discovery or existence ofsuch diffsrènt or additional facts.                                   :




                   15. The release, discharge, and oove,lrant not to sue set forth in            ;


                                                                                                 i

  Pragraph 13 of this Agleoment does not include claiims by any of the Clæs Members
  other thau ihe Released Claims and does not preclude Class Members from      pwsuing           I




  claims based on indirect sales or foreign sales of CRT Products so long æ such claims are

  notbased on the purchæe of the same CRT Proclucts included as part of the Releæed
  Claims defined in Paragraph 13. ihe Releasors hereby covenanf and agree that they      shall   :
                                                                                                 L



  nof hereafrer, sue or otherwise seek to *tutUrn üability against any of the Panasonic
  Releasees based, in whole or in part, upon auy of the Releas€d Qlnims.

          D. Setttgnent Amor:nl
                                                                                                 I
          16. Subject to the provisíons hereof, and in frrll" complete and fiual settlernent     i

  of the Action as provided h€sein, defendant Panasonic shall pay the Settlement Amount
                                                                                                 i


                                                                                                 i,


  of $17,500,000 in UnÍted States Dollars (the "Settle,nent Amounf). The Settlemeot              l


  Amor¡nt shall bepaid into a¡r escrolr/ account in United States Dollüs to be afuinistered
 . in accordance   with the provisions of Paragraph 17 of this Agreemont (the'Escrow
. Accounf) tnir6, t¡Ol days after execution oithis Agree,meat.                                   i


        17. Escrow Accourt                                                                       i


                                                                                                 i




       (a) The Esqow Account will be established at Citibank, N.A. - Citi Private
  Banþ San Francisco, California, with such Bank senring as escrow ageut ('Escrow
  Agenf) subject to escnow instrustions muhully acceptable to Plaintiffs' Lead coumsel and
  Fanasonic, such €súTow to be adsrinistered under the Court's continuing supe,lvision   and     I


  conhol.                                                                                        :




      (b) The Escrow Age,nt shall causc the f,unds deposited in the.Escrow Account               :




  to be invested in short-term insfuments backed by the fuli faith an:d credit of the United
  St¿tes Govemment or flrlly inswed in writing by the United States Govefüûlent or

  mone¡r market fimds ratçd Aaa asd AAA, respectively by Moody's Investor Services    and        ',




  Stsûdard and Poor's, invested zubstantially in zuoh instnments, and shalt reinvest any
                                                                                                 ;




                                               I
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income from these inskume¡ts and the proceeds of these insfrr.¡mentÈ as they mature in
sirrlilat instruments al tbeir thelr surrent market rates.
        (c)     All ñ¡nds held in the Escrow Account sball be deemed and considered to
be in custqdia legis of the Court, and shall remain subject to thejrnisdiction of the CourL

until such time as such funds shall be dishibuted pursuant to this Agreement and/or
fi¡rther order(s) ofthe Corut
        (d)     PlaÍntiß and Panasonic agrc€ to Eeat the SettlemÊnt Fmd as being at all
times a qualifid seülemint fund wirhin the meaning of Tieas. Reg. g 1.4688- l. In
addition, the EscrowAgent shall timeþnake such elections as neoessary or advisable üo
carry out the provisions of this Paragraph 17, includingthe relation-back election (as
deûned in Treas. Reg. $1.4688-l) baak to the eastiest permitted date. Such clec'tions

shall be made in compliance with the procedrues and requírerrents contained in sucb

regulatíons. It sball be the responsibility of the Escrow Agent to timely and properly
pre,pare and deliver the necessary doorm¡entetion for signaturo by all necessary'parties,

and thereafter to cause the ap'propríate filing to occur.
        (e) .' For.the pu{poso of $ 4688 of the Internal Revenue Cqde of 1986, as
ærended, and the regulations promulgated thereunder, the administr¿úor sball be the
Escrow Agent The Esctow Agent shall tinely and properly file all informational and
other ta:r rctums n€c€ssary or advisable with respect to the Settlement Fund (íncluding

without limitation the retrrns described in Treas. Reg, $ L4688-2(kXl)). Sucþ retums
(as wotl as the election desøÍbed in Paragraph 17(d)) shall be consistent with Paragraph

17(d) aud in all events shall reflect that allTaxes, as defined below (including any
estimated Taxes, interest or penalties), on the income eamed by the Settlqnent Fund shall

be paid out of tbe Settle,nent Fr¡nd as provided in Paragraph 1(f) hereof.
        (Ð      All (i) taxes (including any estimated taxes, interest or penalties) æising
with respect to the incone earned by the Settlement Fund, inclu,lìng any tærw or tax
clefoiments that 'may be imposed upon Panasonic or any other Panasonic Releasee with

respeût to any income ea¡ned by the Settlenent FuEd for any period druing which the

Settlernent Fund does not qualiff as a qualified settle,ment fi¡rd for federal or state

income tax puqroses ("Ta>les ); and (ii) expeirses and costs incurred in ænnection \ryith


                                                I
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the operation and implernentation of Paragaphs l7(d) t*rougþ 17(f) (including' without

limitafion, expenses of tax attorneys aod/pr accountaüts andmailing md disFibution
costs and expeflses relating to filing (or faíling to file) the retums described in
                                                                                    this

Paragraph 17(f) ('"Iax Expeirsæ")), shallbepaid out of tbe Settlement Fund-
        (g) Neither Panaso¡ic nor atry otber Panasonio Releasee nor lheir respective
counsel shall have any liability or responsibility for ttro Taxes or tle Tax Expenses.

Further, Taxes anrl Tax Þrpensæ shafi be teated as, and considered to be, a cOst of
afuinistræion of the Settlernent Fruid and shall be timely paid by the Esffow Age'lrt out
                                                                                                be
of the Settlement Fund wittor.ú prior order from the Court and the Escrow Agent shall
obliæted (nohrittrstanding anythinghereinto the confrary) to withhold from distibution
to anyclaimants authorizedbythe Cotrt anyfirnds necessaryto pay such amounts
                                                                                         (as
inoludirig the establishmont of adequate reserr¡çs for atry Taxes and Tax Expenses
well as any amousts that may be requirèd to bo wíthhetd under Treas. Reg $ 1'4688-
Z(l)(2))- Neither Panasonic nor ¿ny other Panasonic Releasee is responsible nor sball
they have any liability thsefor. Plai¡tiffs and Panasoni¡ agree to coope,rate witb
                                                                                        the

Esorow Age,lrt, each other, and ttreir tax attomeys and accountants to the extent
reasonably necessryto carry out the provisions of Pamgraphs l(d) tlnougb
                                                                               17(f)'

        (h) If this Agree,me,nt does not receive fi!ål court approval, including final
 approval of
               o.tlre
                        Class" as defined in Plaintiffs' Consolidated .Ame,nded Complaint or,   if
 that complaint is anended, tbe gperative complaint at the time thís Agreønent is
                                                                                        signed'

 or ifthe Action is not certified as a class acdonfor settleinentprrrposes, then all arnounts
 paíd by panasonic into the Settledent Fund (otñer than costs expended in accordance

 with pæagaph 19(a) shall be retu¡ned to Panasonic from the Escrow Accormt by
                                                                                          the

 Escrow Agent along with any intsrest accrued thereon within thirfy (30) calendar days, '
                    18- Exclusions.
                    (a) lilithin t€n (10) business days. æer the end of tbe period to request

 exclusion from the Class, Iæad Coun¡cl will cause copies of timely requesb for exclusion
 from the Class to be provided to counsel for Pa¡asoníc. To the errtent that Panasonic
                                                                                          the
 determines in good faith ihat its sales.of CRT Produots druing the Class Period to
 poteirtíal members of the class (or any of thm) who have requested exclusion from the


                                                   10
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    Class represenrts an amount of sales equal ûo or greater than eigþty five p€rcent (85%) of

    Panasonic's sales of CRT Products ín the United States during the Class Period"

    Panasonic may terminate the Agreement wíthin thirty (30) days of receipt of the list of

    exolusions. If,Panasonic terminates this Settlement Agreementpursuant to this provision,
    Panasonic shall provide at the time of termination an analysis zupporting its

    detÊnninetion úo te.rminate the Settlement Agreeinent.
                       (b) If Panasonic withdraws from this Agreenent pursuanì to Paragraph

        lS(a), the,n all amourts paíd by Panasonic into the Settle'me'nt F\rnd (other than notice
        costs expended in accordance with Pægaph 19(a)) shatl be retruned to Panasonic ûom

        the Bsorow Account by the Escrow Agent along with any interest accnred thereon withín

        thirty (30) calendar days,
                       (c) With respest to any potential Class member who requests exclusion

        from the Class, Panasonic reserr¡Es alt of its legal rigbts and defenses, including, but not
        limiled to, àny defenses relatiug to whether the excluded Class lrlember is a direct
        prnchaserof any allegedlyprice fixed product and/or hæ stæding to bring any claim'
                        Lg. Pa¡aneirt of EiPenses.     '



                (a)     Panasonic agrees to permituse of ama:rimum of $300,000 oftbe

        Settlement Fund towads notice to the class andthe costs of administation of the
'
        Settlement Fund set forth in Paragraph t7. The $300,000 in notice and administraJion

    .
        e4peru¡ex¡ a¡e not recoverable if tbis settle¡nent does noibecome final to the extent such

        funds are expended for notice and ad'pinisüation costs. Other than as set forth in this

        Paragraph'19(a), neither Panasonic nor any of üe otber Panasonic Relessees under this

        Agrevmeat shall be liable for any of the costs or expensæ of the litigation of the Action,
        iaçlufling atüorneys' fees; fees and exponses of expert wimesses and conzult¡nts; æd
        costs and expeuses associatedlrith discovery motion practice, hearings before the Court

        or aûy Special Master, appeals, ûials or the negotiation of other settlements, or for Class

        adminishation and.costs.
                (b)     If L€ad Counsel enter into any other settlements on behalf of the Class
        before notice of this Agreement is gíven to the Class, Lead Cor¡nsel.shail use its




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reasonable best efforts to provide a singlenotice to prospective Class members of all of

the settle,rnents

                    E. Thesettle,meirtFun4,
                    20. Releasors shall look solely to the Settlsmeirt Fund for settlement
and satisfaction against the Panasonic Releasees of all Released Claims, and shall have

nO Ot¡er recovery oS"inst Panasonic Or any other Panssdnic Releasee,

                    21. Aftþr this Agreement becom€s ffqal within tbe meaning of
Paragraph 11, the Settlement Fund shall be dishibuted ín accordance with a plan to be

submitted at tlre appropriate time by Plaintiffs, subject to approval by tha Court. I¡ no
event shall any Panasonic Releæee have ariy reqpo$ibility, financial obligation, or

liability whatsoever with respect to the invætmenf diskibution, or administration of the
Settlement Fund, including but notlimited to, the costs and e:çenses of.suchdistibution

and adminishatiotr, with the sole exoe,ptionof the provisions set fodh in Pa¡agraph 19(a)

of this Agreement.
                    22. Plaintiffs and Class Cor¡nsel shall bereimbursed flrd inde¡onified
solely out of fhe Settlemeirt Frmd for all.expenses. The Panasonic Releasees shall not be
liable for any costs, fees, or expe,nses of anlof Plaíûdft' or the Class' respective
attomeys, øcpert* advisors, agenb, or repræentatÍves, but all such costs, fees, and
exlrenses as epprgvod by the.Court shall be paid or¡t of the S'ettlement Frmd.

                    23. C&ss Counsel's AttomeyslFeeç AtdReimburssment of Expgnses.
          (a)       Class Counsel may submít an application or applications ùo the Court (the
o'Fee
        and Expense Application') for dísEibution to thqnr from the Settlemeut Fund and

Panasonic shall not oppose zuch application for: (Ð an award of attomeys' fe€s not in

excess of one-third of the settlelm€nt fund; plus (ä) reimbrnsement of expenses and costs

incr¡red in connection with proseouting the Action, plw iuterest ou suçh attomeys' fees,
costs and expelrsqs at fhe sar¡ie rate and for the saure poiod as earned.by the Settlement

Fund (until paicl) as. ruy bç awarded by the Court (the "Fee anrl Expe,lrse Award"). Class

Counsel reservo the right to make additional applications for fees and expenses incr:rred,

but in no event shall Panasonic Releasees be resp<insible to pay any such additional fees
and expenses except ùo the qtent they are peid out of the Settlement Fund,



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          (b) The Fee and Expense A,ward, as approved bythe Corut, shall be paid
solely from the Settlement Fund. Aft€r this Agreeme,ntbecomes        fiml within the meani:rg
of Paragraph 11, the Fee and Expense Award shalt þs p6i{ to Lead Counsei within ten
(10) businæs days. Lead Comsel sball allocate the attornelæ' fees arnong Clæs Counsel
in a manner which it in good faith believe rsflects the contibr¡tions of zuch counsei to the
prosecúion and settle,nent of the Action

          (c)     The procedure for and the aliowanse or disallowance by the Cor.¡rt of the

application by Class Cor¡nSel for attorneys' fees, costs and expenses to be paid out of the
Settle¡r¡ent Fund are not pæt of this Agree,ne,nt, and are to be considered by the Court

separateþ from the Court's considerafion ofthe åirness, reasonablenoss and adequaoy of
'the
       Settlement, and any ordet or proceeding relating to thr Fee and Expelrse Application,

or any appeal from auy such order shall not ope,Íate to terminate or cancel this
Agreemen! or affcct or delay the finality of the judgment approving the settlement.

          (d) Neither Panasonic nor any other Pan¿sonic Releases uncler this Agreunent
shall have any responsibility'foç or interest in, or tiability whatsoever with respect to any
pa¡anent ûo Class Cor¡usel of any Fee and Expense Award in the Action.

          (e) Nçither Panasonic nor any.other Panai¡onío Releasee under this Agree,nrent
shall have any responsibil¡ty for, or interest in, or liability whatsoever with respect to the
allosation among Class Counsel, and/or any otherperson who may assert some clninr
thereto, of any Fee and Expense Award that the Cor:rt may make in the Action,

          F.      CooÈeration
                                .


  -               24, Panasonic shall reasonably cooperate with Lead Counsel as set
forth sp ecifi oally below :=

                  (a) Panasonic's counsel of record will make themselves available in
                 the Uníted States for rrp to a total of two (2) meetings (each meeting may

                 last one day) with counsel to provide an attomey's proffer of facts known

                 to Pa¡¡asonic regarding the allegations about the multilaterai or group CRT

                 competitor meetings alleged in Plaintiffs' Consolidated Amended




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       coruplain! inctuding \4'ithout limitation, information about the
                                                                            expeoüetl

       testimony of any Panasonic ønployees with knowledge
                                                                (if any) of any
                                                                                    âqd
       suchmeetings, m4 docr¡ments (if any) relating t9 aoy suchmeetingl,
                                                                          that
       Panasonicwitnesses (if any) re.gøding any zuch meetingg provided
                                                              protections available
        strch information is not coveredby'privilege or other

        under any applicable united states law, plus reasonable
                                                                    follow-up
                                                                                  zucl as
        cônversations including, but uot limited to, identifying individuals,
                                                                         or potential
        ot¡rrent or former errployees, who may provide information
                                                                         identiS and
        testimouy relevant to the aueg€d meetiigs. Panasonic shall
        pro{uce relwant documents, to the exte¡nt rcasonably available Arid not
        prwiously produced in the Actioq sufficient to show salas, pricing
        capacity, and prodúctio¡, as well as.docr¡ûl€,nts (if any) related
                                                                           to the

        multilateral of groqp cRT compeihrmeetings allegedin Plaintiffs'
        Consolidated Amendetl Complaint.

        (b) Notw.itbstanding any óther prbvision in this Agreement Plaintiffs
                                                                             made by
        agree that they and Class Couusel shall maintain all statements
                                                                  shall not use
        Panasonic'q counsel as sniotly confidential; md that they
               or indireotly the infonnatíon so received for any purposp
                                                                          other
         directly
                                                                       counsel furthsr
         than the prosecution of the Astiou Theparties and their

         agree that any.state,ments madg by Panasonic's counsel
                                                                     in conneçtion with

         and/or as part ofthis settlemsnt, ¡oslurting the attorney's
                                                                       poffer referred

         toinParagraph24(a)above,.shallbeEotectedbyFedemlRuleof
                                                                         person or
         Evideoce 408, and shall iu no event be tliscoverable by any
         treated as evidence of aoY kintl.

         (c)        Upon rea^sonabic uotice after the date of execution of this
                                                                              available
         Agfeemen! Panasonic agre€s to use r€asonable efforts to make
         for interviews, depositions, and testimony at hearings or trial,
                                                                            via
                                                                              (except
         vidçoconference or 1t a mutually agreed upon looation or lointions
         for testimony af hearings or tial, whioh shall be at the United States



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            Courthouse of the Unit€d States Dishict Court for the Northern Distictof

            Califoinia), and at Panasonicls expense up üo five (5) pøsonrl, which may
            cousist of or¡rre,nt directors, ofEc€lr, and/or ernployees of Panasonic (or

            former directory officers and/or einployees of Panasonic, if such forrner
            employees agree to cooperate) whom Lead Cor¡rsel, in consultation with

            cou¡sel forPanasonic, reasonably and in good f¿ithbelieye to have
        '
            knowled.ge regartling the multilate¡al or grotry CRT competitor meetings

            alleged in Plainfift' Consolidated Amended Complainl InterViews shall

            be limited to a total of six (6) hours qv€f, sre day per interview and can be

            conducted telephonícally from overseas at the.wihess's ohoice.

            Dçositions shall bo administefud according to the rules and limitations of
            the Federal Rules of Civil Procedurq regardless of the iocation at whic.h

            they take place or the citizenihip of the deponenl Panasoníc agrees to

            bear reasonable fravel exparse$ incured by witnesses pursuant to this

            Paragraplu Panasonic also agreæ to use good faith efforts to obtain the
            cooperatíon of forner direotors, officss md/or employees, as part of the

            ûve (5) witnesses identified above, if Lead Cou¡sel asks Panasoniö !o
            include such individuals ïsithin fle list of ûve (5). Howwer, it is agreed
            that Panasonic does not h¿ve any obligation to make such efforts for any

            former Panasonic errplo¡'ees that are currently employed by Tostriba

            (dì    Panasonic agre€s to provide one or, if necessaf,J¡, morr witnesses

            for deposition, and" if necessæy at hial, to provide information, to the best
            of their ability,,with reqpect to Panasonic's data regardlng salas, p'ricing,
            pnÍduction, capacity aud cost of its CRT Products. In addition, Pmasoníc
            agre€s to provide one of, ifnecesçary, more witnesses to establish, to the

            be.si of their ability, the fowdation of anyPanasonic document or data

            Lcad Counselid@tiõ, as trecessary for swnmary judgment andlorhial.

            (e) If any docr.unent protected by the attorney-ctie,nt privilege attorneJ
            work-product protoction, joint defense or any other protectior¡ privilegg,



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                or irnmuqity is accident¿lly or inadvertently produced r¡nder this

               Paragrap\ ths docum€nt shall promptlybe desfioyed and/or retr:¡ned to
                Panasonic, and its production shall inno waybe construed to have waived

                any privilege or protection attached üo such docr¡ment.

                (Ð     Plaiûtitrs and Lead Cor¡nsel agree they will not use the inforrration
                provided by Panasonig or the Panasonic Releasees or their representatives
                under this Pgragraph for aßy prrrpose other th¿n the pursuit of the Aotion,

             . and will not publicize the ínformation béyqnd wbat is reasonably
              ' necessary for the proseøirtion of the action or æ otherwise required by
         .      law. i{rry documelrts and other information provided u'íll be deerned
                'llighty Conñd€ntial ' and zubjec't to the protective ord€r eirtered in the
                Action as if theyhadbeenprodued inrespouseto discoveryrequests and

    ,           sodesignated.

'                25. In the eve¡ú fhat this Agreenent fails to receive final approval by
the Cornt as contemplated iu Paragrapbs 8-11 hereof, including fi,nal approval of "the'

9l*r" as defined ìn Plaintiffs' Codsolidated Amended Complain! or, if that ssmplaint is
amended" the bperafive complaint at the time this Agreemenrt is signeù or in the evsnt

tnai it ¡s te,lurinated by erther pmty r:nder any provision herein, the parties agree that
neither Plaintiffs nor Plaintíß' cor¡nsel shalt be permitted to introducs into evidence, at
any høring; or in zupport of any motio4 o'pposition or other pleading in the Action or if,

any other federal or state or foreig4action alleeing a violation of any lalv relating to the

subjæt uatter ofthis Action, any deposition testimony or any tlocuments provided by the
Panasonic Releasees, theìr oounseln or any individr¡al made available by the Panasoníc

Releasees pursuant to the cooperatíon provisioru of Pæagraph 24'

                 26. Except as provided in Paragfaph 24 of this Agreement, Panasonic=
and BMCC need not respond.to formal discovery &om Plaintiffs or otherwise participate'

in the Action drning ihe pendency of the Agreemenl Neittrer Panasonic, BMCC nor
Flaintíffs shall ñle motions against the other drning the pendency of the Agreoment. In
the eve,lrt that the Agreement is not epproved by the CoIJft, or otherwise terminates,


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 Panasonic, BMCC and Plaintiffs will each be bound by and have ttre benefit of auy

 rulings made in the Acfion b tbe exte,nt they would h¿ve been applicable to Pmasonig
 BMCC or Plaintiß had Panasonic and BMCC bee,n participating iu theAction.

                 27, Panasonic and Plaintiffs agre€ not to disclose publicly or to any
 other defenldant (except BMCÇ) the terms of this Agreernent until this Agreertørt is
 submitted to the Cowt for appr,oval

         G.     Rescission if.tbis Areemeût is Not AppEoved or Final Judgment is Not
 Entered.
                 28. If the Court refr¡ses to approve this Agreement or any part hereo{
 including if tbe Court does not cert¡ry a settlement class in accordance with the specific
 class defiüition set forth in Plaintiffs' Consolidated Amended ComplainÇ or if zuch

 approval ís modified or set aside on appeal" or if the Oor¡rt does not enter the final
judgment provided for in Paragraph l0 of this Agreernenf or if the Corrt enters the final
 judgment and qpellatereview is soughÇ and on suchreviel1', such final jud¡þent is not
 atrrned in its entirety, then Panasonic and the Plaiutift shall eaoh, in their'sole   .



 discretion, have the option to rescind this Agreerrrent in its ontirety. Writtennotice of tho
 exercise of any suobright üo rescind úall be made according to the ten¡s ofParagraph

  40. A modifieation or'rwersal on appeal of any amount of'Clæs Counsel's feee and
' expenses awar¿e¿ by the Court ùom the Settlement fl¡n¿ sbail not be deemed a
 modiûcarion of all or a part ofthe terms of this Agrement or such final judgment.
                 29. Intheevent that this Agrement does notbecome final, then this
 Agreement shall be of no fo¡ce or effect and any and all parts of the Settlemeni fund
 caused to be deposited in the Escrow Account (including interest earned thereon) shall be

 returned forthwith to Panasonic læs only disbursements made in accordance with
 Paragaph 19 of this Agreemenl Pa¡asonic expresslyreseryes all of its rigbts and
 defenses if this Agreement does not become final.

                30. Furthe,ç and in any eve,nf Plaintiß and Panasonic agreethat this
              whethen or not it shall bçcome final, and any and all negotiations, documents,

 and discussions associated with it, shall not be deemed or construed to be an admission or

 evidesce of any violation of any statute or law or of any liability or wrongdoing



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   .wb¿tsoeverby Panæouic (or the Panasonic Releaseæ), or of the truth of any of the

   claims or allegations contained in the complaint or any otber pleading filed in the Action,
   orby any person or entity ln any other action, and evidence thereofshall not be
   discoverable or used directly or indirectl¡ in any wa¡ whether in the Action or in any
   other action or p,oceeding

                    31. This Agreement shall be construed and intøpreted to effectuate the
   i:ntent of the partiæ, which is to provide, through this Agree,me,u! for a complete

   resolutiou of the relevant claims withrespect to each Panasonic Roleasee as provided in
   this Agreement
                    32. The parties to thís Agreement contemplate and agree tha! prior to
   final approval of the settlern€,ût as provided for in Paragrapls 8-11 hereof, appropiate

' uotice 1) of the settlemeot; and 2) of ahearíngat whic,h the Court will considø the
   approval of this Settlerrent Agreemeirt will be givon to Class members.
                   H. Miscelladeous.
                   33. This Agreement does not settle or compromise any claim by
   Plaintiffs'o¡ any Class Memb€r asse;ted in the Consolidated Am€ndÉd Complaint or, if
   ¡'"ended, any subsequent ComplainÇ against auy defendant or alleged co-conspirator

   otherthan the Panasonic Rèleaseff. All rights against such otler defendants or alleged
   co-oonspirators are specificallyreserved by Plaintiffr aud the Class. Pa¡asonic's and
   BMCC's sales to the Class sûall not bé removed from the Action
                   34. The Uniúed States Dishíct Corrt for the Northem Disrict of
   Califomia shall retain jruisdiction over the implerrenùation, enforcemen! and
   performance of this Agreement, and shÐll have exchsivejurisdiction over any suit,
   actior¡ procaeding or diqpute arising out of or relating to this Agree,rrent or the
 . applicability of tiris Agree,ment that cannot be resolved by negotiation and agreement by
   PlninrifFs and Panasonic. This Agreement shall be governed by and interpreted accdrding
   to the substantive laws of the state of Califoraia without regard. to its choice of law or
. conflict of laws principles.
                  35. This Agreement constitutas the entire, complete end integrated
   agreonent mong Plaintiffs and Panæonic pøtaining to the settlement of the Astion


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agaiûst Panasonic and BMCC, and supersedes all prior and coutemporaneous

undertakings of Plaintiffs and Panasonic in connec'tion herewith. This Agreement riray
not be modified or amended exce,pt in writing executed by Plaintitrs and Panasonic, and
appmved by the Court.

                 36. This Agreonent shatl be binding upori, and inure to the benefit of,
the successon and assigns of Ptaintiffs, Panasonic and BMCC. riVithout limiting the
generality of the foregoing each and every covenant and agreement made herein by

Plaintifflq Lead Counsel or Class Counsel shatl be binding upon all Class Memb€rs and
Releæors. TheParasonic Release€s (other than Panasonic which is a paúy hereto) æo
thirdpartybe.geficiaries ofthis Agreement and are authorized to enforcE its te¿r¡s
applicable to them.
               37   .   This Agreement may be executed in countoparts by Ptaintiffs and
Panasonic, end a facsimile signature shall be deemed an original signanue forpurposes of

executing thiS Agreement.
               38, Neither Plaintiffs nor Panasonio shall be considered to be the
drafter of this Agreement or auy of its provisions for the pr.npose of any statutg case law,
or nrle of interprotatiou or constnrction that would or might cause aay prcvision to be

constnred agaiust.the drsfr€r of this AgreelnenL

               39. Where tlis Agreement reçires eittrer party to provide notice or
aby other communicatíon or door.ment to the othsr, such notice s,hall be in writing, and

suoh notice, communication, ot document shall be provided by facsimile or letter by

overnight delivery to the undersigned counsel of record for the party to whom notiÞe is
beingprovided,
               40, Each of the undøsigned atbmeys rqnese,nts that he or she is firlly
authorized to enter into the terurs and conditions o{, and ùo executg this AgreemenÇ
subject to Cout ap'proval




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Dated: ¡uo,   4 zo:.r-
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                              R, Alexander Saverl
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